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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION
UNITED STATES OF AMERICA )
EX REL. CYNTHIA I. FITZGERALD, )
)
Plaintiff, )
) CIVIL ACTION NO. 3:03-CV-1589-N
V. )
)
NOVATION, LLC, et al., )
)
Defendants. )

STIPULATION OF DISMISSAL

 

WHEREAS, Plaintiff/Relator Cynthia I. Fitzgerald (‘Fitzgerald’) filed this action
on July 15, 2003, and filed the Second Amended Complaint on December 21, 2007;

WHEREAS, on May 11, 2007, the United States of America (the “United States’’)
notified the Court that it was not intervening in the action at that time;

WHEREAS, by Order dated September 17, 2008, the Court dismissed certain
claims made by Fitzgerald in the Second Amended Complaint under the False Claims Act, 31
U.S.C, §§ 3729-3733, for lack of subject matter jurisdiction;

WHEREAS, on March 30, 2010, Fitzgerald, Defendant Novation, LLC
(“Novation”), Defendant VHA Inc. (“WHA”), and Defendant Becton, Dickinson and Company
(“BD”) reached a full and final agreement to settle the action (the “Settlement Agreement”); and

WHEREAS, pursuant to 31 U.S.C. § 3730(b)(1), the Attorney General of the
United States has consented to the dismissal of this action;

WHEREFORE, pursuant to Rule 41(a) of the Federal Rules of Civil Procedure

and 31 U.S.C. § 3730(b)(1), and in accordance with the Settlement Agreement, Fitzgerald,
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Novation, VHA, and BD, through their undersigned counsel, hereby stipulate and agree to the
entry of an order dismissing this action with prejudice and respectfully request that the Court

enter an order of dismissal with prejudice in the form of the proposed order attached hereto.

Each party shall bear its own fees and costs.

Dated: 4 U 10 By: .
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Dated: 7, Ss /: 10

Dated: 4/04, 10

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